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  Prepared Witness Testimony
  The Committee on Energy and Commerce
  W.J. "Billy" Tauzin, Chairman



  Medicare     Drug Reimbursements:           A Broken System         for Patients    and Taxpayers
  Subcommittee on Oversight and Investigations
  Subcommittee on Health
  September 21, 2001
  09:30 AM
  2123 Rayburn House Office Building




  Mr. Thomas Connaughton

  American Association of Homecare
  625 Slaters Lane, Suite 200
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             Mr. Chairman, my name is Tom Connaughton.         I am President of the American Association for
  Homecare ("AAHomecare").        Our Association was formed by the merger of three national associations on
  February 1, 2000. We are the only national association that represents every line of service within the
  homecare community.      Our members include providers and suppliers of home health services, durable
  medical equipment (DME) services and supplies, infusion and respiratory care services, and rehabilitative and
  assistive technologies, as well as manufacturers and state associations.


           We thank you for the opportunity to discuss the Medicare reimbursement system for pharmaceuticals
  administered to beneficiaries by homecare providers and suppliers, in particular, home infusion therapies and
  inhalation therapies administered to respiratory patients. Homecare providers and suppliers save Medicare
  money by treating patients in the most cost-effective setting - their homes. The savings generated by treating
  patients at home can be dramatically cost-effective when compared to the cost of the same therapy
  administered in an institutional setting.

           Joining me is JoAnn Lamphere (Dr.P.H.) of The Lewin Group. At the request of our association, The
  Lewin Group conducted a survey of providers and suppliers of inhalation and infusion therapies in order to
  determine the costs associated with these therapies. The Lewin Group has prepared a report analyzing the
  results of this survey. To our knowledge, it is the most definitive report on the subject to date. Dr. Lamphere
  will summarize the findings of that report and, of course, a complete copy is attached for your information.

            I want to begin by making an important distinction between infusion and inhalation therapies
  administered to patients in their homes and conventional outpatient drugs such as pills and "patches." The
  key difference is that pills and patches do not require professional services to administer. An individual can
  consume a pill or apply a patch himself after obtaining it from a retail or "traditional" pharmacy. In contrast,
  infusion and inhalation therapies cannot be administered to patients at home without a complex array of
  professional services. These medications are provided only on the prescription of a physician and as required
  by regulatory, accrediting and pharmacy licensing bodies, are prepared in high-tech, sterile settings similar to
  those found in a hospital. These services ensure the safe and effective administration of infusion and
  inhalation therapy in the home.


         As we begin this discussion, it is also important to note that homecare providers and suppliers are not
 paid separately for these important services. Medicare does not have a separate benefit for these homecare




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           therapies. Infusion and respiratory medications furnished to homecare patients are covered under the
  Medicare DME benefit. This means that the only items that are explicitly covered and reimbursed are the
  drugs, the equipment, and the supplies. Unlike other health care professionals, homecare providers and
  suppliers do not have a mechanism that reimburses the services necessary to administer the drugs in addition
  to the reimbursement for the drugs. By comparison, the private managed care sector has recognized the
  tremendous cost-savings associated with homecare and it continues to provide coverage for a growing list of
  home infusion and inhalation therapies. Moreover, such organizations contract with providers for extended
  periods of time, guarantee tremendous volume, and structure their contracts with both a fee for the drug and a
  per diem to assist in covering the providers' costs of services.


                                                      Inhalation Therapy

             Inhalation therapy is administered to patients with respiratory disease, including, for example, chronic
  obstructive pulmonary disease (COPD). COPD is the fourth leading cause of death in the United States,
  affecting 16 million people._ COPD includes a number of chronic respiratory diseases such as emphysema,
  chronic bronchitis, and asthma. Individuals with COPD have a progressive illness. The disease can be
  stabilized, but it cannot be cured. Inhalation therapy is used to manage COPD throughout the course of the
  disease, but in the more advanced stages of COPD, other therapeutic interventions may be required.

           Specifically, inhalation therapy is the process through which a drug or a combination of drugs is
  delivered into the airways and inhaled directly into the lungs via a device called a nebulizer. These drugs may
  include beta-adrenergic bronchodilators, anticholinergic bronchodilators, mast cell stabilizers, anti-




  inflammatory steroids, antibiotics, and sputum liquefiers. Patients receiving inhalation therapy at home are
  monitored by respiratory therapists and highly trained pharmacists.        Inhalation therapies reduce acute
  exacerbations of COPD, saving the Medicare program money in emergency room visits and inpatient stays.

                                                    Infusion Drug Therapy

           Private sector insurance plans and private managed care plans increasingly have embraced home
  infusion drug therapy since the 1980's. Antibiotic therapy, chemotherapy, and pain management are among
  the spectrum of infusion therapies that are now commonly provided to patients in their homes. Currently,
  there are over twenty different drug therapies being offered in the home and other outpatient settings in the
  private sector. The private sector plans and payers typically recognize expressly and separately the
  professional services necessary to provide infusion drug therapy in a safe and effective manner in the home
  setting.


           Infusion drug therapy involves primarily the administration of the drug into the body through a needle or
  a catheter. Typically, infusion drug therapy means that a drug is administered intravenously, but it may also
  apply to situations where drugs are provided through other parenteral (non-oral) routes. Generally, infusion
  drug therapies are used only when less invasive means of drug administration are clinically unacceptable or
  less effective. A team of patient service representatives, clinical pharmacists, high tech infusion nurses, and
  delivery and reimbursement professionals support patients and their caregivers throughout their treatment.
  These services are inextricably linked to the therapies and are often mandated by accrediting bodies whose
  standards ensure quality delivered in an alternate site setting.

               Providing infusion therapies at home has several advantages over hospital-based therapy. Most
 patients prefer to receive such therapies at home rather than in the hospital or in a skilled nursing facility.
 Homecare therapy allows many patients to lead normal lives throughout the duration of the therapy; it enables
 terminally ill patients to spend valuable time with their families and loved ones. Also, the ability to administer
 these therapies in the home reduces the risk of hospital-acquired infections that are sometimes associated
 with prolonged in-patient stays. In most cases, the cost of infusion drug therapy when properly provided in the
 home is far less than the cost of such care in the hospital.




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                    Medicare Coverage of Home Respiratory and Infusion Inhalation Therapies

          It is important to note that Medicare covers very few of the infusion drug therapies when provided at
  home. Further, as I stated above, Medicare does not have a separate inhalation therapy benefit or a home
  infusion therapy benefit. Medicare coverage for these therapies in the home is found only under the DME
  benefit - but only when equipment such as a nebulizer or an infusion pump is necessary. The fact that
  coverage for these therapies is limited to the DME benefit is a very important point in understanding the
  homecare community's issues with drug reimbursement, because the DME benefit explicitly covers only the
  drugs, supplies, and equipment. There is no recognition of the professional services and other functions that
  are widely recognized as necessary to providing inhalation and infusion drug therapies in the home in a safe
  and effective manner.


           The Medicare program's lack of recognition of these professional services is illogical, potentially
  threatening to beneficiaries, and contrary both to how clinicians define and the private sector plans cover
  these therapies. The clinical value and necessity of the provision of professional services to deliver inhalation
  and infusion therapies is reflected in various accreditation standards commonly used by private sector payers,
  such as the standards established by the Joint Commission on Accreditation of Healthcare Organizations
  (JCAHO). Indeed,


  private payers pay for these services as a specific component of the benefit.        The Lewin Group's analysis
  provides a good picture of the costs involved in providing such services.


           These therapies require specialized pharmacy services. Such services include the compounding of
  many of the drugs in a sterile setting, responding to emergencies and questions regarding therapy, and
  participating in the training and education of the patient (and often the patient's family). These therapies also
  require the services of a nurse or respiratory therapist to perform a variety of functions, including patient
  screening and assessment, patient training regarding administration of the pharmaceuticals, and general
  monitoring of the patient's health status. In the case of infusion therapy, these services also include care for
  the infusion site, and monitoring of the catheter exit site for signs of infection or other complications.      In
  addition, the drug, supplies, and equipment are delivered to the patient's home often within four hours of the
  prescription.   Patient satisfaction and other outcomes are measured and reported to accrediting organizations
  as part of quality improvement programs. Finally, staff, including licensed pharmacists, pharmacy technicians,
  respiratory therapists, and registered nurses, are on call 24 hours a day.

          It is important to underscore that none of the specialized pharmacy services is covered under any
  other Medicare benefit. In a minority of cases, Medicare home infusion patients may meet the "homebound"
  requirement and qualify for the home health benefit. In such instances, the nursing services described above
  would be covered under that benefit. For all other Medicare Infusion Patients, the nursing services are not
  covered by the home health benefit.


                                 Average Wholesale Price and Drug Pricing Issues

           Much has been said about how Medicare pays for the few outpatient drugs that are covered currently.
  The use of the average wholesale price (AWP) as the principal basis for determining reimbursement for drugs
  has received much criticism recently as being an inaccurate reflector of the physicians' and pharmacists' costs
  for these drugs. There is little question that these criticisms are correct - if the payment "buys" drugs only. In
  actual fact, the drug payment calculated on the basis of AWP has been used for far more than that. With
  regard to inhalation and infusion therapy in the home setting, the drug payment is the only available payment
  mechanism for needed functions that are essential to providing good quality care. In other words, the spread
  between the providers and suppliers' acquisition cost and the Medicare reimbursement under Medicare Part B
  must cover all functions and services. The acquisition cost of the drug is only a fraction of the overall cost of
  caring for these patients at home.


          The conclusions of the Lewin report, which Dr. Lamphere will explain in more detail, reinforce the point
 that the cost of the drugs represents only one small portion of the overall cost of caring for these patients in
 need of inhalation or infusion therapy. Indeed, the cost of goods represents 26% of total costs while direct
 patient care costs average 46% and indirect costs such as accreditation, information systems, and




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           Medicare/Medicaid      regulatory compliance amount to another 25%.

           In the case of infusion therapies delivered to Medicare beneficiaries, providers, and suppliers, costs
  exceed the revenues received under Medicare. For respiratory medications, providers and suppliers report
  an average margin of 9.2% after taxes, which is considerably less than the average after tax margin of 14.4%
  reported by companies on the S&P index for the same time period in 2000.


           It is important to note that homecare providers are not engaged in the selection of a particular drug.
  Physicians prescribe exactly which drugs should be used. The services furnished by homecare providers and
  suppliers are triggered by the physician's prescription. Their jobs begin when they receive the physician's
  order.


           Policymakers simply cannot look at drug payment as an isolated issue, separate from the other
  workings of a particular therapy.   Reducing drug payments dramatically, without corresponding changes in
  other aspects of the payment methodologies, would truly strain the ability of suppliers and providers to
  continue to provide these drug therapies to Medicare beneficiaries. Indeed, homecare providers and suppliers
  are in a far more tenuous position regarding drug reimbursement than are other providers because they
  receive no payment whatsoever for the important functions and services. Reimbursement for drug
  therapies delivered in the home is tied solely to the drug supplies and equipment. There is no fee schedule
  for services. These necessary professional services must be recognized, and they should be reimbursed.

          While we have analyzed the AWP system and possible alternatives, we have not been able to develop
  a recommendation for the Subcommittees for a system that accurately determines the cost of products to
  providers and suppliers. These costs vary so widely among providers and suppliers that it is difficult to
  conceive of a system that accurately accounts for all of these variables. Accordingly, we urge Congress to
  proceed with caution. However, if Congress contemplates changing the reimbursement system under Part B
  for drugs administered in the home, it is critical that it recognizes the services involved and provide a
  framework for reimbursing them. It is not an option, in our opinion, to limit payment and coverage strictly to
  what is covered under the DME benefit. If Medicare beneficiaries receive only what the DME benefit currently
  recognizes- the drug, supplies, and equipment (pump or nebulizer), - then the level of care for the Medicare
  beneficiaries will be far less than that commonly provided in the private sector. Indeed, there are questions
  whether there will be access for Medicare beneficiaries at all. That result would be neither fair nor clinically
  appropriate.  Medicare beneficiaries often are less able to deal with the complexities of these technical
  homecare therapies than are people who are decades younger.

                                                      Recommendations


           We believe that it is important to establish accurate definitions of home respiratory and infusion
  therapy, create quality standards based on those currently and widely used in the private sector, and establish
  a fee schedule that reflects all the covered components of the therapies. H.R. 2750, introduced earlier this
  year by Congressman Engel of New York, Congressman Rush of Illinois, Congressman Towns of New York,
  and Congresswoman Hart of Pennsylvania, would do exactly that for Medicare coverage of home infusion
  therapy. This bill would remove coverage of home infusion therapy from the DME benefit and establish a new
  benefit that accurately reflects how these therapies are and should be provided. If enacted, this bill will bring
  the Medicare program in-line with the private sector as to how these therapies are covered and defined. We
  believe this approach is equally appropriate for inhalation therapies provided in the home if Congress revises
  the reimbursement system for Medicare Part B and drugs.

              Mr. Chairman, AAHomecare thanks you for the opportunity to present views on behalf of our
  member companies. Please do not hesitate to call upon us for additional information.




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  [!] See National Institutes of Health, Global Initiative For Chronic Obstructive Pulmonary Disease, April 2001;
  Agency for Health Care Quality Research Evidence Based Practice Guidelines, Management of Acute
  Exacerbations of Chronic Obstructive Pulmonary Disease.




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